     Case 4:24-cr-00786-AMM-EJM           Document 17      Filed 05/16/24    Page 1 of 1




1    GARY M. RESTAINO
     United States Attorney
2    District of Arizona
     NATHANIEL J. WALTERS
3    Assistant U.S. Attorney
4    United States Courthouse
     405 W. Congress Street, Suite 4800
5    Tucson, Arizona 85701
     Telephone: 520-620-7300
6    Email: nathaniel.walters@usdoj.gov
     Attorneys for Plaintiff
7
                            IN THE UNITED STATES DISTRICT COURT
8
                                FOR THE DISTRICT OF ARIZONA
9
       United States of America,                           CR 24-00786-TUC-SHR (AMM)
10
                             Plaintiff,                   GOVERNMENT’S NOTICE OF
11
                       v.                                ADMINISTRATIVE FORFEITURE
12
13     Jose Rene Murrieta,
14                           Defendant.

15
            The United States of America hereby gives notice that on April 22, 2024, the
16
     Department of Homeland Security, U.S. Customs and Border Protection administratively
17
     forfeited two (2) Glock, model 19X, 9mm caliber pistols bearing serial numbers CABL598
18
     and CAHP375; one (1) Pioneer Arms, 7.62x39mm caliber rifle with an obliterated serial
19
     number; two (2) Century Arms 7.62x39mm caliber rifles bearing serial numbers SV139910
20
     and SV7140269; three (3) 7.62x39mm caliber magazines; and six (6) 9mm caliber
21
     magazines, which were included in the Forfeiture Allegation of the defendant’s Indictment.
22
            Therefore, the government will not pursue criminal forfeiture against the assets listed
23
     in this notice.
24
            DATED this 16th day of May, 2024.
25
26                                             GARY M. RESTAINO
                                               United States Attorney
27                                             District of Arizona
28                                             s/Nathaniel J. Walters
                                               NATHANIEL J. WALTERS
                                               Assistant U.S. Attorney
